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                                                                                   Qualified voters without mi approved p h o t o ID may obtain a free Election Identification Card f r o m DPS,
                                                                                   Find o u t m o r e at dps.texas.gov.


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                                              Required Identification for Voting in Person

                                              D o n ' t have a p h o t o ID for voting? Election Identification Certificates are available f r o m DPS driver
                                             license offices d u r i n g regular business hours. Find m o b i l e station locations here.



                                             Frequently A s k e d Questions

                                             In 20x1, the T e x a s Legislature passed Senate Bill 14 (SB 14) creating a new r e q u i r e m e n t for voters to
                                             s h o w photo identification w h e n voting in person. W h i l e pending review within the judicial system,
                                             the U.S. S u p r e m e Court issued its opinion in Shelby County v. Holder, which effectively ended all
                                             p e n d i n g litigation. As a result, voters are now required to present an approved f o r m of photo
                                             identification in o r d e r to vote in all T e x a s Elections.


                                             T h i s r e q u i r e m e n t is e f f e c t i v e i m m e d i a t e l y .

                                             H e r e is a list of t h e a c c e p t a b l e f o r m s of p h o t o ID:

                                                  • T e x a s driver license issued by the T e x a s D e p a r t m e n t of Public Safety ( D P S )
                                                  • T e x a s Election Identification Certificate issued by DPS
                                                  • T e x a s personal identification card issued by DPS
                                                  • T e x a s c o n c e a l e d h a n d g u n license issued by DPS
                                                 • United States military identification card containing the person's p h o t o g r a p h
                                                 • United States citizenship certificate containing the person's p h o t o g r a p h
                                                  • United States passport

                                             W i t h the exception of the U.S. citizenship certificate, the identification must be current or have
                                             expired no m o r e than 60 days before being presented for voter qualification at the polling place.
                                             Procedures for Voting

                                             W h e n a voter arrives at a polling location, the voter will be asked to present o n e of the seven (7)
                                             acceptable f o r m s of photo ID. Election officials will n o w be required by State law to d e t e r m i n e
                                             w h e t h e r the voter's name on the identification provided matches the name o n the official list of
                                             registered voters ( " 0 L R V " ) . After a voter presents their ID, the election worker will c o m p a r e it to the
                                             O L R V . If the n a m e on the ID m a t c h e s the n a m e on the list of registered voters, the voter will follow
                                             the regular p r o c e d u r e s for voting.

                                             If the n a m e d o e s not match exactly but is "substantially similar" to the name on the O L R V , the voter
                                             will be p e r m i t t e d to vote as long as the voter signs a n affidavit stating that the voter is the s a m e
                                             p e r s o n o n the list of registered voters.

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                        exhibitsticker.com




                                             If a voter d o e s not have p r o p e r identification, the v o t e r will still be permitted to vote provisionally.
    09/02/2014                               T h e v o t e r will have (six) 6 days to p r e s e n t proper identification to the county voter registrar, or the
                                             voter's ballot will be rejected.
    DEF0202                                  Exemption/Exceptions:

                                             Voters with a disability may apply with the county v o t e r registrar f o r a p e r m a n e n t e x e m p t i o n .
                                             T h e application must contain written d o c u m e n t a t i o n from either the U.S. Social Security
                                             Administration evidencing he or she has been d e t e r m i n e d to have a disability, o r f r o m the U.S.
                                             D e p a r t m e n t of Veterans Affairs evidencing a disability rating of at least 50 percent. In addition, the
                                             applicant m u s t state that h e or she h a s no valid f o r m of photo identification. T h o s e w h o obtain a
     EXHIBIT
v                                            disability e x e m p t i o n will be allowed to vote by presenting a voter registration certificate reflecting
                                             the e x e m p t i o n . Please contact y o u r voter registrar for more details.
      Q
                                             Voters w h o h a v e a consistent religious o b j e c t i o n to b e i n g p h o t o g r a p h e d a n d voters w h o d o not

    M S r                                    have any valid f o r m of photo identification as a result of certain natural disasters as declared by the
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           President of the United States or the T e x a s Governor, may v o t e a provisional ballot, a p p e a r at the
           voter registrar's office within six (6) calendar days after election day, a n d sign an affidavit swearing
           to the religious objection or natural disaster, in order for your ballot to be counted. Please contact
           your county voter registrar for more details.
           Frequently A s k e d Questions

           1. W h e n d o e s t h e n e w p h o t o i d e n t i f i c a t i o n l a w g o into e f f e c t ?

          The n e w p h o t o identification r e q u i r e m e n t is effective immediately.

          2. W h a t l a n d o f i d e n t i f i c a t i o n will b e r e q u i r e d to q u a l i f y t o v o t e in p e r s o n u n d e r t h e
          new program?

          A voter will be required to s h o w o n e of the following f o r m s of p h o t o identification at the polling
          location b e f o r e t h e voter will b e p e r m i t t e d t o cast a vote.

               • Texas driver license issued b y the T e x a s Department of Public Safety (DPS)
               • Texas Election Identification Certificate issued by D P S
               • Texas personal identification card issued by DPS
               • T e x a s c o n c e a l e d h a n d g u n license issued by DPS
               • United States military identification card containing the person's p h o t o g r a p h
               • United States citizenship certificate containing the person's p h o t o g r a p h
              • United States passport

          3. M y ID is e x p i r e d . W i l l it still w o r k ?

          W i t h the e x c e p t i o n of the U.S. citizenship certificate, the identification must be current or have
          expired no m o r e than 6 o days b e f o r e b e i n g presented for voter qualification at t h e polling place.

          4. B u t w h a t if a v o t e r d o e s n o t h a v e a n y of these f o r m s o f p h o t o ID? A r e t h e r e a n y
          exceptions?

          If a voter d o e s not have a p e r m a n e n t disability exemption (addressed below) indicated 011 his or her
          voter registration certificate A N D the voter d o e s not have any of the p h o t o identifications indicated
          above at the time of voting, the voter m a y cast a provisional ballot at the polls. However, in order to
          have the provisional ballot counted, the voter will be required to visit the voter registrar's office
          within six c a l e n d a r days of the date of the election to either present o n e of the a b o v e f o r m s of photo
          [ D O R s u b m i t o n e of the temporary' affidavits addressed below (e.g., religious objection or natural
          disaster) in the presence of the c o u n t y voter registrar while attesting to the fact that he or she does
          not have any of the required p h o t o IDs.

          A p e r m a n e n t e x e m p t i o n is available for voters with d o c u m e n t e d disabilities. Voters with a
          disability m a y apply with the c o u n t y voter registrar for a p e r m a n e n t exemption. T h e application
          must contain written d o c u m e n t a t i o n from either the U.S. Social Security Administration evidencing
          the applicant's disability, or f r o m the U.S. Department of Veterans Affairs evidencing a disability
          rating of at least 5 0 percent. In addition, the applicant must state that he or she has no valid form of
          photo identification. T h o s e w h o obtain a disability exemption will be allowed to vote by presenting a
         voter registration certificate reflecting the exemption.

         Affidavits are available for voters w h o have a consistent religious objection to being p h o t o g r a p h e d
         and f o r voters w h o do not have any p h o t o identification as a result of certain natural disasters as
         declared by the President of the United States o r the T e x a s G o v e r n o r within 45 days of the day the
         ballot was cast,

         5. If I h a v e a g o v e r n m e n t - i s s u e d I D that c o n t a i n s m y p h o t o a n d it is riot o n t h e list
         a b o v e , m a y I u s e it?

         If y o u d o not h a v e one of the f o r m s of p h o t o IDs listed above and y o u r voter registration certificate
         does not have a disability e x e m p t i o n noted, y o u will only be eligible to cast a provisional ballot.

         6. M y n a m e on m y a p p r o v e d p h o t o I D d o e s n o t exactly m a t c h m y n a m e o n m y v o t e r
         r e g i s t r a t i o n c a r d . C a n I still v o t e ?

         Election officials will review the ID and if a n a m e is "substantially similar" to the n a m e o n their list
         of registered voters, you will still be able to vote, but you will also have to s u b m i t an affidavit stating
         that y o u are t h e s a m e person on the list of registered voters.

         7. W h a t d o e s " s u b s t a n t i a l l y s i m i l a r " m e a n ?
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          A voter's name is considered substantially similar if one or more of the following circumstances
          applies:

             1. The name on the ID is slightly different from one or more of the name fields on the official list
                of registered voters.
             2. The name on the voter's ID or on list of registered voters is a customary variation of the voter's
                formal name. For example, Bill for William, or Beto for Alberto.
             3. The voter's name contains an initial, middle name, or former name that is either not on the
                official list of registered voters or on the voter's ID.
            4. A first name, middle name, former name or initial of the voter's name occupies a different field
                on the presented ID document than it does on the list of registered voters.

          In considering whether a name is substantially similar, election officials will also look at whether
          information on the presented ID matches elements of the voter's information on the official list of
          registered voters such as the voter's residence address or date of birth,

          8. Does the new photo ID requirement apply to voting by mail?

          The new requirement does not change the process for voting by mail.

          9. Does the address on m y photo identification h a v e to match m y address on the
          official list of registered voters at the time of voting?

          The new requirement makes no determination on voter address matching criteria; therefore, there is
          no address matching requirement.

          10. W h e n is the DPS Election Identification Certificate going to be available?

          The Election Identification Certificate is now available. Information regarding how to obtain an
          election identification certificate can be found at www.dps.texas.gov, You may also contact DPS by
          telephone at (512) 424-2600 for more information.

          11. W h a t happens if I refuse to show proof of identity?

          Voters who refuse to show proof of identity will be allowed to vote by provisional ballot. However,
          please be advised that a refusal to show ID is not a valid ground for casting a provisional ballot, and
          it is likely that the voter's ballot will be rejected by the ballot board.

          We hope you have found this information helpful. Should you need additional information, please
          contact our office via telephone at 1-800-252-VOTE (8683) or via email at elections("'sos.state.tx.us.
